IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 08-0501
                              ((((((((((((((((

      In The Matter Of The Guardianship Of Kathryn Houseworth Gibbs, An
                            Incapacitated Person

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                      On Petition for Writ of Mandamus
            ((((((((((((((((((((((((((((((((((((((((((((((((((((

      ORDER

      1.    The motion to abate, filed on September  4,  2008,  is  granted,
and this case is ABATED to allow the  parties  to  proceed  with  settlement
negotiations.
      2.    This case is  removed  from  the  Court's  active  docket  until
October 15, 2008, by which time  the  parties  must  file  either  a  status
report or a motion to dismiss.  The parties shall  immediately  notify  this
Court about any changes in status in the settlement proceedings.

      Done at the City of Austin, this 12th day of September, 2008.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




